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                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MAINE



 Rep. Andre E. Cushing III, et al.,

                                         Plaintiffs,

         v.                                            Civil Action No. 1:10-cv-00330-GZS

 Walter F. McKee, et al.
                                       Defendants.



                MOTION FOR INJUNCTIVE RELIEF PENDING APPEAL

       Pursuant to Federal Rule of Appellate Procedure 8(a)(1), Plaintiffs, Rep. Andre E. Cushing,

Respect Maine PAC, and Harold A. Clough, hereby respectfully request that this Court enjoin the

enforcement of 21-A M.R.S.A. §§ 1015(1) (the “gubernatorial contribution limit”), 1019-B(3) (the “IE

reporting requirement”), and 1125(9)(the “rescue funds”) pending resolution of Plaintiffs’ appeal to the

First Circuit. In support of this Motion, Rep. Cushing states as follows:

       1.      On August 5, 2010, Plaintiffs filed a Verified Complaint challenging the

constitutionality of Maine’s matching fund, IE reporting requirement, and gubernatorial contribution

limit. Simultaneous with this filing, Plaintiffs filed a Motion for Preliminary Injunction requesting that

the challenged provisions be enjoined during the pendency of this action.

       2.      On September 17, 2010, this Court entered an order denying Plaintiffs’ Motion for

Preliminary Injunction. This Order incorporated by reference the reasoning from this Court’s order of

September 15, 2010, which denied Plaintiffs’ Motion for Temporary Restraining Order on the grounds

that, under binding First Circuit precedent, Plaintiffs had no chance of success on the merits.
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          3.    On September 20, 2010, Plaintiffs filed a Notice of Appeal of the September 17th

Order.

          4.    Rule 8(a)(1) of the Federal Rules of Appellate Procedure provides that “a party must

ordinarily move first in the district court for . . . (C) an order . . . granting an injunction while an appeal

is pending.”

          5.    The standard for granting an injunction pending appeal is the same as for granting a

preliminary injunction. The moving party must show that: (1) the applicant has made a strong showing

that he is likely to succeed on the merits; (2) the applicant will be irreparably injured absent an

injunction; (3) the issuance of the injunction will not substantially injure the other parties interested in

the proceeding; and (4) an injunction is in the public interest. Hilton v. Braunskill, 481 U.S. 770, 776

(1987).

          6.    Plaintiffs meet all four of the elements needed for injunctive relief. In Davis v. FEC,

128 S. Ct. 2759 (2008), the Supreme Court explicitly approved the Eighth Circuit’s decision in Day v.

Holohan, 34 F.3d 1356 (8th Cir. 1994), which held that matching funds were unconstitutional.

Subsequent actions by the Courts of Appeals and Supreme Court have reaffirmed this holding. See

McComish v. Bennett, No. 10-14165, 2010 WL 2595288 (June 8, 2010)(enjoining Arizona matching

fund); Scott v. Roberts, 2010 WL 2977614 (11th Cir. July 30, 2010) (enjoining Florida matching

funds); Green Party of Conn. v. Garfield, __ F.3d __, 2010 WL 2737153 *26 (2d Cir. 2010) (enjoining

Connecticut matching fund). The First Circuit’s decision in Daggett v. Commission on Governmental

Ethics and Election Practices, 205 F.3d 445, 464-65 (1st Cir. 2000) thus no longer controls and

Plaintiffs are likely to ultimately succeed on the merits of their claims. “The loss of First Amendment

freedoms, even for minimal periods of time, constitute[s] irreparable injury . . . .” Elrod v. Burns, 427


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U.S. 347, 373 (1976). So Plaintiffs will suffer irreparable harm absent an injunction. The harms to First

Amendment rights from not granting an injunction outweigh whatever harms may occur if it is granted.

And, because the public interest is supported by protecting First Amendment rights, all the elements for

injunctive relief are present.

        7.      Plaintiffs recognize that, based this Court’s rulings on September 15th and 17th, this

Court may continue to view itself as bound by Daggett v. Commission on Governmental Ethics and

Election Practices, 205 F.3d 445, 464-65 (1st Cir. 2000), such that it cannot grant Plaintiffs the

requested relief. If so, this Court should promptly dispose of the instant motion, so as to allow

Plaintiffs to fully pursue the matter in the Court of Appeals.

WHEREFORE, Plaintiffs respectfully moved this Court to grant their Motion for Injunction Pending

Appeal.




Dated: September 20, 2010                                 Respectfully submitted,



                                                          /s/ Josiah Neeley
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                                   CERTIFICATE OF SERVICE

I hereby certify that on this 20th day of September 2010, I electronically filed the above document with
the Clerk of Court using the CM/ECF system, which will send notification of such filing to all counsel
involved in this matter:

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                                                     /s/Josiah Neeley
                                                     Josiah Neeley




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